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CAUSE NO. 241100353166

HOUSTON 2425 GALLERIA, LLC
Plaintiff,

JUSTICE OF THE PEACE

v. HARRIS COUNTY, TEXAS

JETALL COMPANIES, INC.
Defendants.

PRECINCT 1 PLACE 1

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ORDER OF DISQUALIFICATION

After considering the briefs and authorities cited to the Court, and after
considering the arguments of counsel, the Court makes the following findings:

1.) That an attorney-client relationship has existed between the Jackson Walker,
LLP, Law Firm and a.) The named Defendant in this suit, and b.) Plaintiff by
and through the representation of its current client, Houston 2425 Galleria,
LLC.

2.) That substantial relationship exists between the matters in the case at bar and
cases in which the Jackson Walker, LLP, law firm has represented the named
Defendant and its principle and affiliated entities, including without
limitation, the National Bank of Kuwait in the past regarding substantially
related matters involving the property at 2425 West Loop So., Houston, Texas
77027.

3.) That through such attorney-client relationships, the firm has received

information that intimately relates to the factual issues at bar, which creates a
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conflict of interest, and which will result in a violation of the Disciplinary
Rules of Professional Conduct.

4.) This Court believes, as was stated in the Home Insurance Company v. Marsh
case (1990) and Islander East v. Ferguson (1996) that the trust necessary in
any attorney-client relationship is destroyed if this client must be concerned
that any information, he/it gives the attorney on related issues may reappear
later in adversarial proceedings, where his former attorney now represents an
opponent. The Court feels that the relationship between the lawyer in those
cases creates the possibility that confidential information could inadvertently
be used by the law firm and that the appearance of justice would therefore be
compromised.

For those reasons, the motion is GRANTED and it is;

ORDERED. that Jackson Walker, LLP, its attorneys and its co-counsel, are

Disqualified to litigate or have any role in the present case, or the representation

of any party in this case or the matters and issues relating thereto.

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RENDERED this 71" dayop Oehdber — 9004,

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JUDGE PRESIDING

